                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION


ROSE MARIE CELESTIN, as Next of                      Case No. 6:21-cv-896-RBD-EJK
Kin and Proposed Personal
Representative of the Estate of Jean
Samuel Celestin, deceased,

      Plaintiff,
v.

CITY OF OCOEE, OFFICER
JOSHUA BODE, OFFICER
CHRISTOPHER BONNER,
OFFICER DOMINIC
CHIUCHIARELLI, OFFICER
BRIAN HARRIS, TOWN OF
WINDERMERE, AND OFFICER
GRIFFIN HEBEL,

       Defendants.
                                        /

              DEFENDANTS’ MOTION TO STRIKE, OR IN THE
           ALTERNATIVE, FOR LEAVE TO SERVE SURREBUTTAL
           EXPERT REPORTS AND EXTENSION OF TIME TO TAKE
                   ALON STEINBERG’S DEPOSITION

      COME NOW, Defendants, through their respective undersigned attorneys, file

and serve their Motion to Strike, or in the Alternative, for Leave to Serve Surrebuttal

Expert Reports and Extension of Time to Take Alon Steinberg’s Deposition.

      1.     This case arises out of the alleged April 11, 2019 encounter between

police and Jean Samuel Celestin and his subsequent death.

      2.     On April 15, 2022, Plaintiff served expert witness disclosures and reports

for Richard Masten and Michael Baden. (See Ex. 1; Ex. 2; Ex. 3). On May 20, 2022,

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Defendants served expert witness disclosures and reports for John Hunsaker, Mark

Kroll, John Peters, Gary Vilke, and Kenneth Wallentine. (See Ex. 4; Ex. 5; Ex. 6;1 Ex.

7; Ex. 8; Ex. 9). On June 17, 2022, Plaintiff served rebuttal expert witness disclosures

and reports for Michael Baden and Alon Steinberg. (See Ex. 10; Ex. 11; Ex. 12).

       3.     Rebuttal expert reports are proper if they contradict or rebut the subject

matter of the affirmative expert report—not for presenting new arguments. Leaks v.

Target Corp., 2015 WL 4092450, at *3 (S.D. Ga. July 6, 2015). If the purpose of the

expert testimony is to contradict an expected portion of the other party’s case-in-chief,

then the witness is not a rebuttal witness. Id. Rebuttal is limited to new, unforeseen

facts brought out in the other side’s case. Id.; see also PODS Enters., Inc. v. U-Haul Int’l,

Inc., 2014 WL 12628662, at *2 (M.D. Fla. July 2, 2014). Rebuttal testimony should

not be allowed if it logically belongs in the case-in-chief and goes to the case’s central

issue of causation. In re Trasylol Products Liability Litigation, 2010 WL 4065435, at *2

(S.D. Fla. Aug. 6, 2010).

       4.     Although disclosed for the first time on rebuttal, Steinberg is not a

rebuttal expert witness. Plaintiff could and should have disclosed Steinberg as an

affirmative expert. Steinberg’s extensive report (which is noticeably longer than

Baden’s principal and rebuttal reports (compare Ex. 3, Ex. 11, Ex. 12)), includes new

arguments not previously presented by either of Plaintiff’s other reporting experts.

(See, e.g., Ex. 12 at 13 (“Mr. Celestin’s arrhythmia was due to acidosis uncompensated


1
 Certain images contained in Dr. Kroll’s report were redacted for filing to comply with the
Order (Doc. 64) entered December 8, 2021.
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from decreased ventilation and decrease in circulation from prone restraint.”)). Also,

Steinberg’s opinions directly reach this case’s central issue of cause of Mr. Celestin’s

death (see, e.g., Ex. 12 at 5) and address an expected and important portion of

Defendants’ cases-in-chief—that the officers did not cause or contribute to Mr.

Celestin’s death. Prior to any expert disclosures for this case, Steinberg published on

the same subject matter. (See, e.g., Ex. 13 at 1-10).

      5.     Unaddressed, Plaintiff’s disclosure of Steinberg as a supposed rebuttal

expert witness will undermine the expert disclosure sequence established in the CMSO

and unfairly prejudice Defendants.

      WHEREFORE, Defendants respectfully request that the Court enter an order

striking Steinberg’s report, or in the alternative, granting Defendants leave to serve

surrebuttal expert reports and an extension of time through August 15, 2022 for

Steinberg’s deposition and for any other relief the Court deems appropriate.

                               Local Rule 3.01(g) Certification

      Pursuant to Local Rule 3.01(g) and the Order on Discovery Motions (Doc. 6),

counsel for Windermere and Hebel has conferred with all other parties regarding the

relief requested in this motion. The City of Ocoee, Bode, Bonner, Chiuchiarelli, and

Harris join this motion. Counsel for Windermere and Hebel conferred via telephone

with counsel for Plaintiff, who does not agree on resolution of any part of this motion.

Respectfully submitted,

/s/ Frank Mari
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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on June 23, 2022, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system.

/s/ Frank Mari
Attorney for Defendants Town of Windermere and Officer Griffin Hebel




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